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                     UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 SHARONELL FULTON, CECELIA
 PAUL, TONI LYNN SIMMS-BUSCH,
 and CATHOLIC SOCIAL SERVICES,

          Plaintiffs,                            Civil Action No. 18-cv-2075

    v.                                           Assigned to the Honorable
                                                 Judge Tucker
 CITY OF PHILADELPHIA,
 DEPARTMENT OF HUMAN
 SERVICES FOR THE CITY OF
 PHILADELPHIA, and
 PHILADELPHIA COMMISSION ON
 HUMAN RELATIONS,

          Defendants.




                         DECLARATION OF JAMES AMATO

         1.     My name is James Amato. I am over the age of 21 years old and capable

of making this declaration pursuant to 28 U.S.C. § 1746. I have not been convicted of

a felony or been convicted of a crime of dishonesty. I have personal knowledge of all

the contents of this declaration.

         2.     The City of Philadelphia is facing a crisis because of the acute shortage

of qualified families available to care for the thousands of vulnerable children who

have been removed from abusive or neglectful homes and placed in foster care. The

City relies on private foster agencies to help fill this shortage. In March of this year,

the City sent out an “urgent” call that 300 additional families are needed for fostering.




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      3.     Catholic Social Services exists to help fill this need. For over 100 years,

the Archdiocese of Philadelphia has worked to provide loving foster homes for needy

children. This continues today through the work of Catholic Social Services (CSS), a

non-profit religious corporation under the auspices of the Archdiocese. CSS has

contracted with the City on an annual basis for over 50 years. On an average day,

Catholic Social Services serves more than 120 children in foster care, and it

supervises around 100 different foster homes.

      4.     Through its contract with the City, CSS placed these children in loving

foster homes—many of whom have worked exclusively with CSS for decades. CSS

also provides ongoing support to its foster families. In all this time, the City has never

suspended referrals to Catholic Social Services as long as CSS had homes available,

nor has it sought to either construe the contract to require CSS to do home studies

for same-sex couples or to enforce such a construction against Catholic Social

Services. A true and correct copy of this contract is included as Attachment A.

      5.     There are 28 state-licensed agencies who partner with the City to

provide additional services to foster children. Of those agencies, eight obtained

additional competitive contracts with the City to also serve as a Community Umbrella

Agency (CUA), an entity that works to try to help at-risk children stay in their homes

where such an option would be possible and safe for the child. If that option is not

available, the CUA refers the child to be placed in foster care. Of the select agencies

in the City who obtained additional competitive contracts to serve foster children and

families, the City ranked CSS as the second highest of all agencies.




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      6.     Foster care services involve placing children with foster families who

have already undergone extensive interviews and home studies by social workers at

the agency. The agency makes a determination whether a particular foster family

would be an appropriate family to care for foster children. After these interviews,

home studies, and evaluations, an agency may provide a written certification

endorsing a specific foster family to care for foster children, including thorough

analysis and a written endorsement of any relationships of the foster parents. No

same-sex couple has ever requested CSS to provide such a written certification for

foster care services.

      7.     State law does not prohibit foster agencies from declining to perform a

home study, nor from referring families to another licensed agency to perform a home

study. And in fact, foster care agencies have referred families to other agencies

regularly for a number of secular reasons including 1) geographic constraints, such

as proximity of an agency to the child’s biological home or current school, 2) the

expertise of an agency for particular medical needs, 3) the expertise of an agency to

address particular behavioral issues, 4) agencies focused on finding foster placements

for pregnant youth, and 5) the expertise of an agency focused on homes under the

City’s “kin care” program. Some agencies also specialize in finding families who want

to foster LGBT youth, including an agency located in suburbs near Philadelphia.

Other agencies specialize in placing Native American children with families of Native

American lineage.




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      8.     Because of its religious mission, CSS would also refer a family to one of

over two dozen nearby agencies if providing a written certification for that family

would violate CSS’s religious beliefs. In fact, four such agencies are located within

two miles of CSS’s downtown office. Catholic Social Services has provided foster

services consistent with its religious beliefs, without complaint, as long as it has been

operating.

      9.     On March 15, in response to a newspaper article discussing Catholic

Social Services’ religious beliefs, the City abruptly cut off foster care referrals to CSS,

and has threatened to make it impossible for CSS to continue contracting with the

City to provide these services as of June 30, 2018. Only two religious foster care

agencies have been subject to contract suspensions by the City, even though a number

of other religious groups operate foster care agencies.

      10.    Also on March 15, the Philadelphia City Council passed a resolution

alleging that some foster service providers prohibit the placement of children with

LGBTQ people based on religious principles and calling for an investigation. A true

and correct copy of this resolution is included as Attachment B. Catholic Social

Services has provided foster services consistent with its religious beliefs, without

complaint, as long as it has been operating.

      11.    On March 16, the Commission on Human Relations (Commission) sent

a letter to Catholic Social Services, to which CSS later responded. A true and correct

copy of the Commission’s letter is included as Attachment C; a true and correct copy

of Catholic Social Services’ response is included as Attachment D. On March 27, the




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Operations Director at the City’s Department of Human Services (DHS), sent an

email to other foster agencies in Philadelphia forbidding them from referring any

additional foster intakes to Catholic Social Services. A true and correct copy of this

email is included as Attachment E.

      12.      On May 7, the Commission and the City’s Law Department responded

to Catholic Social Services’ April 18th letter (Attachment D), defending the City’s

actions and stating that CSS would face subpoenas and further adverse actions under

the contract in 10 days. True and correct copies of these letters are included as

Attachments F and G, respectively.

      13.      If the City persists in these actions, the consequences will be severe.

Currently, CSS has about 26 available spots for foster children in need of a home, and

this number is projected to increase to about 35 spots by the end of June 2018.

Additionally, about a dozen foster homes currently sit completely empty because CSS

cannot receive any referrals, and therefore cannot place any children with these

loving parents. The number of foster parents, like Mrs. Paul, who are willing and

anxious to care for foster children but are unable to do so at all because of the City’s

actions, will increase to about 20 by the end of June. This number is expected to

accelerate quickly if the City’s actions continue, as CSS on average would receive

about 9 additional referrals from the City every month prior to the current referral

freeze.

      14.      If the City makes renewal of the contract impossible on June 30, then

many current placements will be in jeopardy. Children who are already at a




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vulnerable point in their lives stand to have those lives disrupted again, since their

foster parents are certified and supported by CSS and cannot automatically receive

foster placements and support from another agency.

      15.    The City’s current actions are resulting in placements being made that

are not in the best interest of children. A court has already had to order the City to

place a child with the former foster mother of that child—a mother working with CSS.

And right now, an urgent situation is ongoing where the City is refusing to place a

special needs child, referred to as Doe Foster Child #1, with his former foster mother

named Doe Foster Mother #1, even though no other permanent home for the child is

currently available and the child is languishing in temporary respite homes. Included

as Attachment H is a true and correct copy of the email a social worker at Catholic

Social Services sent seeking to resolve this situation. My understanding is that under

normal circumstances, Doe Foster Child #1 would have been placed with his former

foster mother almost immediately after he was removed from the other home due to

an emergency, and no court order or court determination would have been necessary

since she was the only permanent home available. The CUA assigned to Doe Foster

Child #1 has expressed the position that it would be in Doe Foster Child #1’s best

interest to return to Doe Foster Mother #1’s care, as she is prepared to adopt Doe

Foster Child #1. I am aware that the Child Advocate with the Philadelphia Defender

Association assigned to Doe Foster Child #1’s case has also expressed her opinion that

the child should be returned to Doe Foster Mother #1’s care. Yet DHS is still resisting




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this outcome. The reason DHS provided to Doe Foster Child #1’s social worker for

denying the placement was the City’s current dispute with Catholic Social Services.

      16.    I am aware of multiple additional children who have been referred

elsewhere when CSS families should have been the preferred placement for those

children as a result of the City’s freeze on referrals to CSS.

      17.    If the City continues refusing to refer children to CSS, or if the City

fulfills its threat to permanently end CSS’s foster care service to Philadelphia

children on June 30th, CSS will probably have to close its foster program and

immediately lay off the staff involved in this program. Relying on its contract with

the City, CSS has hired 15 staff members dedicated exclusively to its foster services

program and has budgeted and raised funds designed to supplement the City’s

funding for foster care. Were CSS forced to close this program, CSS would also lose

the network of foster families it has carefully cultivated over the years. Restarting

this program later from scratch would be incredibly difficult, and likely impossible.

Even if a new contract were not signed by June 30th, however, CSS could continue

operating under the current contract if referrals resume. It is commonplace for CSS

to continue operating under an old contract in agreement with the City until a new

contract could be drafted and signed. True and accurate signature pages from prior

contracts showing the date of ratification are included as Attachment I.

      18.    Attachment J is a true and correct copy of an article entitled Chaput

edict draws mixed reviews; Kenney calls it 'not Christian', visited on June 4, 2018,




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and available at http://www.philly.com/philly/news/20160707 Chaput edict draws

mixed reviews      Kenney calls it   not Christian .html.

      19.    Attachment K is a true and correct copy of an article entitled Jim

Kenney’s Long War with the Archdiocese, visited on June 4, 2018, and available at

https://www.phillymag.com/citified/2015/07/09/jim-kenney-catholic-archdiocese-

charles-chaput/#Ipkpzv0aRJyCyIrL.99.

      20.    Attachment L is a true and correct copy of an article entitled Project

Discovery by Crossroads, last visited on June 4, 2018, and available at

http://crossroadsprograms.org/wp-content/uploads/2016/07/Project-Discovery-

Brochure.pdf.

      21.    Attachment M is a true and correct copy of an article titled Crossroads

Programs Inc: LGBTQ Focused Services, last visited on June 4, 2018, and available

at https://www.mightycause.com/organization/Crossroads-Programs.

      22.    Attachment N is a true and correct copy of an article titled Local

Organization Seeks Foster Parents for LGBTQ Youth, list visited on June 4, 2018, and

available    at     https://www.phillymag.com/g-philly/2014/05/28/local-organization-

seeks-foster-parents-lgbtq-youth/.

      23.    Attachment O is a true and correct copy of an article titled N.J. Youth

Agency Looks to Match LGBT Adults, Teens, last visited on June 4, 2018, and

available   at    http://www.epgn.com/news/regional/7396-25314381-nj-youth-agency-

looks-to-match-lgbt-adults-teens.




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      24.     Attachment P is a true and correct copy of a website titled Mother/Baby

Host Home, last visited on June 4, 2018, and available at https://www.pa-

mentor.com/who-we-serve/children-and-families/motherbaby-host-home/.

      25.     Attachment Q is a true and correct copy of a website titled Therapeutic

Foster Care, last visited on June 4, 2018, and available at https://www.pa-

mentor.com/who-we-serve/children-and-families/therapeutic-foster-care/.

      26.     Attachment R is a true and correct copy of a document titled

Pennsylvania Indian Child Welfare Handbook, last visited on June 4, 2018, and

available     at        http://www.pacwrc.pitt.edu/ICWA/Indian%20Child%20Welfare%

20Handbook.pdf.

      27.     Attachment S is a true and correct copy of a website titled Welcome to

Rainbow      Adoptions, last     visited   on       June   4,   2018,   and   available   at

http://www.cotraic.org/adopt.html.

      28.     Attachment T is a true and correct copy of a document titled Quarterly

Indicators Report.

      29.     Attachment U is a true and correct copy of an article titled Philly halts

foster placements with 2 faith-based agencies shutting out LGBT couples, last visited on

June 4, 2018, and available at https://whyy.org/articles/philly-halts-foster-placements-2-

faith-based-agencies-shutting-lgbt-couples/.

      30.     Attachment V is a true and correct copy of testimony entitled Education

Interrupted: How We Are Failing Our Children in Residential Placements, last visited

on    June         4,    2018,    and      available       at    https://www.elc-pa.org/wp-




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content/uploads/2018/05/ELC-Testimony-Before-City-Council-Re-Residential-

Placements-May-17-2018.pdf.

      31.   Attachment W is a true and correct copy of an article entitled Two foster

agencies in Philly won’t place kids with LGBTQ people, last visited on June 4, 2018,

and available at http://www.philly.com/philly/news/foster-adoption-lgbtq-gay-same-

sex-philly-bethany-archdiocese-20180313.html.




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            Attachment A
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                  Contract Number          16-20030-04                                                 City of Philadelphia
                  Original Contract Number 16-20030                                          Department of Human Services
                  290 - Placement Services

                                                                               CONFORMED
                                STANDARD AMENDMENT AGREEMENT
                                          TIDS STAND ARD AMENDMENT AGREEMENT ("Amendment
                  Agreement") is made as of September 20, 2017and effective July 1, 2017 (the "Effective Date")
                  by and ~etween the City of Philadelphia ("the City"), by and through its DEPARTMENT OF
                  HUMAN SERVICES ("Department"), and CATHOLIC SOCIAL SERVICES ("Provider"), a
                  nonprofit corporation, with its principal place of business at 222 NORTH 17TH STREET,
                  P1IlLADELPIIlA, PENNSYLVANIA 19103.

                                                                                BACKGROUND

                                          The City and Provider entered into a certain Contract, Contract Number
                  16-20030, dated November 30, 2015, which includes the City of Philadelphia Professional
                  Services Contract General Provisions for the Department of Human Services (the "General
                  Provisions"), the Provider Agreement, Cross Agency Response for Effective Services
                  ("CARES") Limited License Agreement (when applicable), and any and all attachments, exhibits
                  and documents thereto (collectively, the "Base Contract"), wherein Provider agreed to render
                  various Services to the City in accordance therewith; and

                                          The City and Provider entered into an amendment to the Base Contract, Contract

               . Number 16-20030-01, for the period July 1, 2015 to June 30, 2016; and

                                          The City and Provider entered into an amendment to the Base Contract, Contract

                  Number 16-20030-02, for the period July 1, 2015 to June 30, 2016; and

                                          The City and Provider entered into an amendment to the Base Contract, Contract

                  Number 16-20030-03, for the period July 1, 2016 to ~one 30, 2017; and




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                  Rev. Date: June 2017
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                              Hereinafter, the Base Contract and all prior amendments, if any, shall be referred

             to as the "Base Contract as Amended;" and

                              It is necessary to INCREASE the amount of compensation payable under the Base

             Contract as Amended by Nineteen Million, Four Hundred Thirty Thousand, Nine Hundred

             Ninety-One Dollars and Twenty-Three Cents ($19,430,991.23). in order for Provider to

             continue to render the Services and provide the Materials specified in the Base Contract as

             Amended and this Amendment Agreement; and

                              The City and Provider have agreed to amend certain terms and conditions of the

             Base Contract as Amended, as set forth herein; and

                              In consideration of the mutual obligations set forth herein, and each intending to

             be legally bound, the City and Provider covenant and agree as of the Effective Date as follows:

                                       ARTICLE I: AMENDMENTS TO THE CONTRACT


                              With the exception of the following amendments set forth in this Amendment

             Agreement, and subject to councilmanic appropriation of funds, the terms and conditions of the

             Provider Agreement "as amended" shall be and remain in full force and effect:

                      1.1     Incorporation of Background.
                              The Background is incorporated by reference herein.
                      1.2     Definilions.
                              Capitalized terms not otherwise defined herein shall have the meanings set forth
             in the Base Contract as Amended.
                      1.3     Term.
                              The term of the Base Contract as Amended is extended for an Additional Term
             commencing JULY 1, 2017 and expiring JUNE 30, 2018.
                      1.4      Compensation.
                              As compensation for the Services and Materials being provided under this
             Contract, the City covenants and agrees to set the amount of compensation payable to Provider
             for the current contract term at Nineteen Million, Four Hundred Thirty Thousand, Nine


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             Rev. Date: June 2017
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                    Hundred Ninety-One Dollars and Twenty-Three Cents ($19,430,991.23). Notwithstanding
                    anything in the Contract to the contrary, in no event shall the amount certified by the Finance
                    Department for Services and Materials under the Contract, including this Amendment
                     Agreement, exceed Forty-Three Million, One Hundred Seventy-Eight Thousand, Seven
                     Dollars and Twenty-Three Cents ($43,178,007.23).
                                   1.5          Services and Materials.
                                                Section bl of the Provider Agreement, is amended in accordance with the
                     attachments listed below, which are attached to this Amendment Agreement and incorporated
                     herein by reference.

                                                (a)           S.A.A.-1: Service, Rate, Maximum Days/Units

                                                (b)           S.A.A.-2: Scope of Services


                                   Section bl of the Provider Agreement, is amended in accordance with the Exhibits listed

                     below, which are available on the Provider Extranet and incorporated herein by reference.

                                                (c)           S.A.A.- 2._:Community Umbrella Agency Practice Guidelines
                                                (d)           S.A.A.- _!_:Day Treatment Standards
                                                (e)           S.A.A.- i:Foster Family Care Standards
                                                (f)           S.A.A.- _§_:Group Home Standards
                                                (g)           S.A.A.-_L:Institutional Care Standards
                                                (h)           S.A.A.- _!_:Re-Integration Standards
                                                (i)           S.A.A.- ..2_:Specialized Behavioral Health Standards
                                                (j)           S.A.A.- 10 :Maternity Mother/Baby Standards
                                                (k)           S.A.A.-..11.:Medical Standards
                                                (1)           S.A.A.- 12 :Supervised Independent Living Standards
                                                (m)           S.A.A.- 13 :Streamlined Standards
                                                (n)           S.A.A.- 14 :CARES Limited License Agreement
                                                (o)          · S.A.A.- 15 :Balanced and Restorative Justice Standards




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                      1.6     Additional Provisions.
                              Other provisions, including, without limitation, OEO participation commitments
             and any exceptions or modifications to the General Provisions of the Contract, are set forth in the
             following clause(s) and incorporated herein by reference:
                               (a)     DHS is increasing its administrative efficiency through the use of
             electronic record keeping and data sharing technology. As these updates occur, the Department
             will continue to notify providers of these technology requirement changes through written
             notices. Failure to comply with any DHS technology requirements (including, but not limited to
             the use of P-Web and P-DRIVE) may result in a financial penalty and/or a finding that an Event
             of Default has occurred.
                      1.7     Acknowledgment of General Provisions.
                              Provider specifically acknowledges that Provider has read and understands the
             terms and conditions contained in the General Provisions and acknowledges that by executing
             this Amendment Abrree1m:nl, Provider shall be legally bound by all of the terms of this Contract,
             including, but not limited to, those set forth in the General Provisions. The revised General
             Provisions are attached to this document and are explicitly accepted by the Provider.
                      1.8      Acknowledgment of Standards.
                               Provider specifically acknowledges that Provider has read and understands the
             terms and conditions contained in the applicable above referenced Performance and Service
             Standards ("Standards") formerly known as Service Description and Contract Requirements,
             Service Description, Performance Standards, Service Standards, Procedural Manuals and/or
             Guides which are available on the Provider Extranet at
             (http://dhs.phila.gov/extranet/extrahome pub.nsf/Content/ServiceStandards ) which are
             incorporated to this Amendment Agreement by reference. Provider acknowledges that by
             executing this Amendment Agreement, Provider shall be legally bound by all of the terms of this
             Contract, including, but not limited to, those set forth in the Standards currently published on the
             Provider Extranet and any and all subsequent amendments.
                                                (SIGNATURE PAGE TO FOLLOW)




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                                                IN WITNESS WHEREOF, the Parties hereto, intending to be legally bound by all of the
                             Contract Documents, have caused the Contract to be executed by their respective duly authorized
                             officers as of the date in the heading of this Standard Amendment Agreement.



                                                    APPROVED AS TO FORM                            THE CITY OF PIDLADELPHIA
                             SOZI PEDRO TULANTE, CITY SOLICITOR Through: The Department of Human Services


                                       Per:        ~'"""""
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                                                           ""                               By:     ~"'"'"'"""
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                               Name:                 Crystal T. Espanol                  Name:       Cynthia Figueroa


                                 Title:               Assistant City Solicitor            Title:     Commissioner



                                                                                                   CATHOLIC SOCIAL SERVICES


                                                                                           By:


                                                                                        Name:       James Amato


                                                                                         Title:     Vice President




                                                                                           By:
                                                                                                      0426312A44334D4-


                                                                                        Name:       Franz Fruehwald
                                                                                                    Chief Financial Officer
                                                                                         Title:     Assistant Treasurer




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                                             City of Philadelphia Contract Routing Slip
             External Negotiation/Encumbrance & Budget Verification (Conformance Manager)




                 1.       Review contract as signed by vendor and consult with supervisor.



                      x       Clitk the check box to attach additional documentation, if required.
                 2.       Confirm Encumbrance; supervisor routes in ACIS to Budget Verification.
                 3.       Confirm Budget Verification completed in ACIS.

                      x       Send to Law.

             Approve as to Form (Attorney)

                              Click the check box to attach additional documentation, if required.



                      X       Route in ACIS to Finance

             Finance Certification

                      x       Attach the Endorsement Sheet then route in ACIS to Finance Review.




             Finance Review

                      x       Review then route in ACIS to Department Signs Contract.

             Departmental Review (Conformance Manager)

                      X       Route in ACIS to Conformance.




             Conformance Review (Conformance Clerk)

                          x   Conform Contract.




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                                                                                                        Exhibit SAA - 1
                                                                                                      Fiscal Year 2018

                                                                                   6606 - Catholic Social Services

                                                                                                                      Service   Contract
                     Services                                                        Rate                              Code      Units        Total

                     DEPENDENT SERVICES
                     Bouvier1 McCarth)t'. 1 Fairless 1 Morrell 1 Drexel
                     and McGlade - CUA/Placement
                     GH-lntensive (Non-RTF)          $212.16                               K1LG        AS NEEDED                 $0.00
                     GH-lntensive (Non-RTF) (Child $256.55                                 K1LG        AS NEEDED                 $0.00
                      Specific)
                     GH-RTF (C/P)                    $3.00                                 K13M        AS NEEDED                 $0.00
                     Initial Clothing Allowance      Up to $250/child                      X1XX        AS NEEDED                 $0.00
                                                Bouvier, McCarthy, Fairless, Morrell, Drexel and McGlade - CUA/Placement TOTAL: $0.00

                     CUA -1/1/18 to 6/30/18
                     FFC-College Rate                                                $32.13                           J1GW      AS   NEEDED    $0.00
                     FFC-Emergency Shelter                                           $45.06                           E1GG      AS   NEEDED    $0.00
                     FFC-Emergency Shelter 13+                                       $55.06                           E1GG      AS   NEEDED    $0.00
                     FFC-General                                                     $45.06                           J1GG      AS   NEEDED    $0.00
                     FFC-General 13+                                                 $55.06                           J1GG      AS   NEEDED    $0.00
                     FFC-M/B-Baby                                                    $0.00                            J1WC      AS   NEEDED    $0.00
                     FFC-M/B-Mother                                                  $57.06                           J1WP      AS   NEEDED    $0.00
                     FFC-M/B-Mother (2B)                                             $65.56                           J1WP      AS   NEEDED    $0.00
                     FFC-M/B-Mother (2B) 13+                                         $75.56                           J1WP      AS   NEEDED    $0.00
                     FFC-M/B-Mother (3B)                                             $74.06                           J1WP      AS   NEEDED    $0.00
                     FFC-M/B-Mother (3B) 13+                                         $84.06                           J1WP      AS   NEEDED    $0.00
                     FFC-M/B-Mother 13+                                              $67.06                           J1WP      AS   NEEDED    $0.00
                     FFC-Maternity                                                   $45.06                           J1JG      AS   NEEDED    $0.00
                     FFC-Maternity 13+                                               $55.06                           J1JG      AS   NEEDED    $0.00
                     FFC-Medical                                                     $45.06                           J1MR      AS   NEEDED    $0.00
                     FFC-Medical 13+                                                 $55.06                           J1MR      AS   NEEDED    $0.00
                     FFC-Respite                                                     $0.00                            J14G      AS   NEEDED    $0.00
                     Initial Clothing Allowance                                      Up to $250/child                 X1XX      AS   NEEDED    $0.00
                     KIN-College Rate                                                $32.13                           Z1GW      AS   NEEDED    $0.00
                     KIN-Emergency                                                   $45.06                           Z1DG      AS   NEEDED    $0.00
                     KIN-Emergency 13+                                               $55.06                           Z1DG      AS   NEEDEO    $0.po
                     KIN-Emergency-M/B-Baby                                          $0.00                            Z1DC      AS   NEEDED    $0.00
                     Kl N-Emergency-M/8-Mother                                       $57.06                           Z1DP      AS   NEEDED    $0.00
                     KIN-Emergency-M/8-Mother                                        $65.56                           Z1DP      AS   NEEDED    $0.00
                     (2B)
                     KIN-Emergency-M/B-Mother                                        $75.56                           Z1DP      AS NEEDED      $0.00
                     (2B) 13+
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                                                                         Service       Contract
            Services                             Rate                     Code          Units                  Total
            Kl N-Emergency-M/8-Mother           $74.06                    Z1DP        AS NEEDED                 $0.00
            (38)
            Kl N-Emergency-M/8-Mother           ,$84.06                   Z1DP        AS NEEDED                 $0.00
            (38) 13+
            KIN-Emergency-M/8-Mother            $67.06                    Z1DP        AS NEEDED                 $0.00
            13+
            KIN-General                         $45.06                    Z1GG        AS   NEEDED               $0.00
            KIN-General 13+                     $55.06                    Z1GG        AS   NEEDED               $0 .00
            KIN-M/8-8aby                        $0.00                     Z1WC        AS   NEEDED               $0.00
            KIN-M/8-Mother                      $57,06                    Z1WP        AS   NEEDED               $0.00
            KIN-M/8-Mother (28)                 $65.56                    Z1WP        AS   NEEDED               $0.00
            KIN-M/8-Mother (28) 13+             $75.56                    Z1WP        AS   NEEDED               $0.00
            KIN-M/8-Mother (38)                 $74.06                    Z1WP        AS   NEEDED               $0.00
            KIN-M/B-Mother (38) 13+             $84.06                    Z1WP        AS   NEEDED               $0.00
            KIN-M/8-Mother 13+                  $67.06                    Z1WP        AS   NEEDED               $0.00
            KIN-Maternity                       $45.06                    Z1JG        AS   NEEDED               $0.00
            KIN-Maternity 13+                   $55.06                    Z1JG        AS   NEEDED               $0.00
            KIN-Medical                         $45.06                    Z1MR        AS   NEEDED               $0.00
            KIN-Medical 13+                     $55.06                    Z1MR        AS   NEEDED               $0.00
                                                                                   CUA-1/1/18 to 6/30/18 TOTAL: $0.00

            CUA - 7/1/17 to 12/31/17
            FFC-College Rate                     $28.50                   J1GW        AS   NEEDED               $0.00
            FFC-Emergency Shelter                $41.43                   E1GG        AS   NEEDED               $0.00
            FFC-Emergency Shelter 13+            $51 .43                  E1GG        AS   NEEDED               $0.00
            FFC-General                          $41.43                   J1GG        AS   NEEDED               $0 .00
            FFC-General 13+                      $51.43                   J1GG        AS   NEEDED               $0.00
            FFC-M/8-Baby                         $0.00                    J1WC        AS   NEEDED               $0.00
            FFC-M/8-Mother                       $53.43                   J1WP        AS   NEEDED               $0.00
            FFC-M/8-Mother (28)                  $61 .93                  J1WP        AS   NEEDED               $0.00
            FFC-M/8-Mother (28) 13+              $71.93                   J1WP        AS   NEEDED               $0,00
            FFC-M/8-Mother (38)                  $70.43                   J1WP        AS   NEEDED               $0.00
            FFC-M/8-Mother (38) 13+              $80.43                   J1WP        AS   NEEDED               $0.00
            FFC-M/8-Mother 13+                   $63.43                   J1WP        AS   NEEDED               $0.00
            FFC-Matern ity                       $41.43                   J1JG        AS   NEEDED               $0.00
            FFC-Maternity 13+                    $51.43                   J1JG        AS   NEEDED               $0.00
            FFC-Medical                          $41.43                   J1MR        AS   NEEDED               $0.00
            FFC-Medical 13+                      $51.43                   J1MR        AS   NEEDED               $0.00
            FFC-Respite                          $0.00                    J14G        AS   NEEDED               $0.00
                                     IU::J-'+.Jt'"U-tf'+/O-L/t:UjLt"tst"ts4!)l.,;
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                                                                                   Service        Contract
                 Services                            Rate                           Code            Units                 Total
                  Initial Clothing Allowance         Up to $250/child               X1XX         AS   NEEDED                $0.00
                  KIN-College Rate                   $28.50                         Z·IGW        AS   NEEDED                $0.00
                  KIN-Emergency                      $41.43                         Z1DG         AS   NEEDED                $0.00
                  KIN-Emergency 13+                  $51.43                         Z1DG         AS   NEEDED                $0.00
                  KIN-Emergency-M/B-Baby             $0.00                          Z1DC         AS   NEEDED                $0.00
                  KIN-Emergency-M/B-Mother           $53.43                         Z1DP         AS   NEEDED                $0.00
                  KIN-Emergency-M/B-Mother           $61.93                         Z1DP         AS   NEEDED                $0.00
                  (2B)
                  KIN-E.mergency-M/B-Mother          $71.93                         Z1DP         AS NEEDED                  $0.00
                  (2B) 13+
                  KIN-Emergency-M/8-Mother           $70.43                         Z1DP         AS NEEDED                  $0.00
                  (3B)
                  KIN-Emergency-M/8-Mother           $80.43                         Z1DP         AS NEEDED                  $0.00
                  (38) 13+
                  KIN-Eniergency-M/B-Mother          $63.43                         Z1DP         AS NEEDED                  $0.00
                  13+
                  KIN~General                        $41.43                         Z1GG        AS NEEDED                    $0.00
                  KIN-General 13+                    $51.43                         Z1GG        AS NEEDED                    $0.00
                  KIN-M/B-Baby                       $0.00                          Z1WC        AS NEEDED                    $0.00
                  KIN-M/B-Mother                     $53.43                         Z1WP        AS NEEDED                    $0.00
                  KIN-M/8-Mother (2B)                $61.93                         Z1WP        AS NEEDED                    $0.00
                  KIN-M/B-Mother (2B) 13+            $71.93                         Z1WP        AS NEEDED                    $0.00
                  KIN-M/B-Mother (3B)                $70.43                         Z1WP        AS NEEDED                    $0.00
                  KIN-M/B-Mother (3B) 13+            $80.43 .                       Z1WP        AS NEEDED                    $0.00
                  KIN-M/B-Mother 13+                 $63.43                         Z1WP        AS NEEDED                    $0.00
                  KIN-Maternity                      $41.43                         Z1JG        AS NEEDED                    $0.00
                  KIN-Maternity 13+                  $51.43                         Z1JG        AS NEEDED                    $0.00
                  KIN-Medical                        $41.43                         Z1MR        AS NEEDED                    $0.00
                  KIN-Medical 13+                    $51.43                         Z1MR        AS NEEDED                    $0.00
                                                                                             CUA- 7/1/17 to 12/31/17 TOTAL: $0.00

                  Placement - 1/1/18 to 6/30/18
                  FFC-College Rate                   $32.13                         J1GW         AS NEEDED                  $0.00
                  FFC-Emergency Shelter              $58.12                         E11G         AS NEEDED                  $0.00
                  FFC-Emergency Shelter 13+          $68.12                         E11G         AS NEEDED                  $0.00
                  FFC-Level II                       $58.12                         J12G         ASNEEDEQ                   $0.00
                  FFC-Level II 13+                   $68.12                         J12G         AS NEEDED                  $0.00
                  FFC-M/8-Baby                       $0.00                          J1WC         AS NEEDED                  $0.00
                  FFC-M/B-Mother                     $71.64                         J1WP         AS NEEDED                  $0.00
                  FFC-M/8-Mother (2B)                $98.64                         J1WP         AS NEEDED                  $0.00
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                                                                         Service        Contract
            Services                             Rate                     Code           Units                    Total
             FFC-M/B-Mother (28) 13+            $108.64                   J1WP        AS NEEDED                     $0 .00
             FFC-M/S-Mother (38)                $125.64                   J1WP        AS NEEDED                     $0.00
           · FFC-M/B-Mother (38) 13+            $135.64                   J1WP        AS NEEDED                     $0_.00
             FFC-M/B-Mother 13+                 $81.64                    J1WP        AS NEEDED                     $0.00
             FFC-Maternity                      $46.12                    J1JG        AS NEEDED                     $0.00
             FFC-Maternity 13+                  $56.12                    J1JG        AS NEEDED                     $0.00
             FFC-Medical                        $46.12                    J1MR        AS NEEDED                     $0.00
             FFC-Medical 13+                    $56.12                    J1MR        AS NEEDED                     $0.00
             FFC-Respite                        $0.00                     J14G        AS NEEDED                     $0.00
             Initial Clothing Allowance         Up to $250/child          X1XX        AS NEEDED                     $0.00
             KIN-College Rate                   $32.13                    Z1GW        AS NEEDED                     $0.00
             KIN-Level II                       $58 .12                   Z12G        AS NEEDED                     $0.00
             KIN-Level II 13+                   $68.12                    212G        AS NEEDED                     $0.00
             KIN-M/B-Baby                       $0 ..00                   Z1WC        AS NEEDED                     $0.00
             KIN-M/B-Mother                     $71.64                    Z1WP        AS NEEDED                     $0.00
             KIN-MIS-Mother (28)                $98.64                    Z1WP        AS NEEDED                     $0.00
             KIN-M/B-Mother (28) 13+            $108.64                   Z1WP        AS NEEDED                     $0.00
             KIN-M/B-Mother (38)                $125.64                   Z1WP        AS NEEDED                     $0.00
             KIN-MIS-Mother (38) 13+            $135.64                   Z1WP        AS NEEDED                     $0.00
             KIN-M/8-Mother 13+                 $81 .64                   Z1WP        AS NEEDED                     $0.00
             KIN-Maternity                      $46.12                    Z1JG        AS NEEDED                     $0.00
             KIN-Maternity 13+                  $56.12                    Z1JG        AS NEEDED                     $0.00
             KIN-Medical                        $46.12                    Z1MR        AS NEEDED                     $0.00
             KIN-Medical 13+                    $56.12                    Z1MR        AS NEEDED                     $0.00
             SSH-Transition FFC                 Up to $87.77              J1UG        AS NEEDED                     $0.00
             SSH-Transition FFC 13+             Up to $97.77              J1UG        AS NEEDED                     $0.00
             SSH-Transition KIN                 Up to $87.77              Z1UG        AS NEEDED                     $0.00
             SSH-Transition KIN 13+             Up to $97.77              Z1UG        AS NEEDED                     $0.00
                                                                             Placernent - 1/1/18 to 6/30/18 TOTAL: $0.00
            Placement - 7/1/17 to 12/31/17
            FFC-College Rate                    $28.50                    J1GW         AS   NEEDED                 $0.00
            FFC-Emergency Shelter               $54.59                    E11G         AS   NEEDED                 $0.00
            FFC-Emergency Shelter 13+           $64.49                    E11G         AS   NEEDED                 $0.00
            FFC-Level II                        $54.49                    J12G         AS   NEEDED                 $0.00
            FFC-Level II 13+                    $64.49                    J12G         AS   NEEDED                 $0.00
            FFC-M/8-Baby                        $0.00                     J1WC         AS   NEEDED                 $0.00
            FFC-M/8-Mother                      $68.01                    J1WP         AS   NEEDED                 $0.00
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                                                                                                               Service        Contract
                   Services                                                 Rate                                Code           Units                    Total
                   FFC-M/S-Mother (2S)                                      $95.01                              J1WP       AS NEEDED                     $0.00
                   FFC-M/S-Mother (2S) 13+                                  $10fi.01                            J1WP       AS NEEDED                     $0.00
                   FFC-M/S-Mother (3S)                                      $122.01                             J1WP       AS NEEDED                     $0.00
                   FFC-M/S-Mother (3S) 13+                                  $132.01                             J1WP       AS NEEDED                     $0.0.0
                   FFC-M/S-Mother 13+                                       $78.01                              J1WP       AS NEEDEO                     $0.00
                   FFC-Maternity                                            $42 .49                             J1JG       AS NEEDED                     $0.00
                   FFC-Maternity 13+                                        $52.49                              J1JG       AS NEEDED                     $0.00
                   FFC-Medical                                              $42.49                              J1MR       AS NEEDED                     $0.00
                   FFC-Medical 13+                                          $52.49                              J1MR       AS NEEDl:D                    $0.00
                   FFC-Respite                                              $0.00                               J14G       AS NEEDED                     $0.00
                   Initial Clothing Allowance                               Up to $250/child                    X1XX       AS NEEDED                     $0.00
                   KIN-College Rate                                         $28.50                              Z1GW       AS NEEDED                     $0.00
                   KIN-Level II                                             $54.49                              Z12G       AS NEEDED                     $0.00
                   KIN-Level 1113+                                          $64.49                              Z12G       AS NEEDED                     $0.00
                   KIN-M/S-Saby                                             $0.00                               Z1WC       AS NEEDED                     $0.00
                   KIN-MIS-Mother                                           $68.01                              Z1WP       AS NEEDED                     $0.00
                   KIN-MIS-Mother (2B)                                      $95.01                              Z1WP       AS NEEDED                     $0.00
                   KIN-MIS-Mother (2B) 13+                                  $105.01                             Z1WP       AS NEEDED                     $0.00
                   KIN-MIS-Mother (3B)                                      $122.01                             Z1WP       AS NEEDED                     $0.00
                   KIN-MIS-Mother (3B) 13+                                  $132.01                             Z1WP       AS NEEDED                     $0.00
                   KIN-M/B-Mother 13+                                       $78.01                              Z1WP       AS NEEDED                     $0.00
                   KIN-Maternity                                            $42.49                              Z1JG ·     AS NEEDED                     $0.00
                   KIN-Maternity 13+                                        $52.49                              Z1JG       AS NEEDED                     $0.00
                   KIN-Medical                                              $42.49                              Z1MR       AS NEEDED                     $0.00
                   KIN-Medical 13+                                          $52.49                              Z1MR       AS NEEDED                     $0.00
                   SSH-Transition FFC                                       Up to $84.14                        J1UG       AS NEEDED                     $0.00
                   SSH-Transition FFC 13+                                   Up to $94.14                        J1UG       AS NEEDED                     $0.00
                   SSH-Transition KIN                                       Up to $84.14                        Z1UG       AS NEEDED                     $0.00
                   SSH-Transition KIN 13+                                   Up to $94.14                        Z1UG       AS NEEDED                     $0.00
                                                                                                                  Placement - 7/1/17 to 12/31/17 TOTAL: $0.00

                   St Francis/St Jose~h for Bo)ls - CUA/Placement
                   GH-lntensive (Non-RTF)          $212.16                                                      K1LG          AS   NEEDED                $0.00
                   GH-lntensive (Non-RTF)          $256.55                                                      K1LG          AS   NEEDED                $0.00
                   Initial Clothing Allowance      Up to $250/child                                             X1XX          AS   NEEDED                $0.00
                   SIL (Requires Authorization)    $114.52                                                      M1GG          AS   NEEDED                $0.00
                   SIL-College Rate                $24.75                                                       M1GW          AS   NEEDED                $0.00
                                                                                                    St Francis/St Joseph for Boys - CUA/Placement TOTAL: $0.00
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                                                                                  Service        Contract
            Services                           Rate                                Code           Units                   Total

            St Gabriel's {Reguires Authorization} -
            CUA/Placement
            Initial Clothing Allowance         Up to $250/child                    X1XX         AS   NEEDED                 $0.00
            INST-Intensive (Non-RTF)           $197.35                             L1LG         AS   NEEDED                 $0.00
            INST-Intensive (Non-RTF)           $239.94                             L1LG         AS   NEEDED                 $0.00
            INST-RTF D&A (R/8,C/P)             $84.61                              L1AR         AS   NEEDED                 $0.00
            INST-RTF Mitchell (R/8,C/P)        $84.61                              L 13R        AS   NEEDED.                $0.00
            INST-RTF Module I (R/8,C/P)        $84.61                              L 13R        AS   NEEDED                 $0.00
                                                              St Gabriel's (Requires Authorization)- CUA/Placement TOTAL: $0.00

            St Vincent's: Guardian Angel/St.Vincent's
            Maternity Home - CUA/Placement
            GH-lntensive (Non-RTF)             $212.16                             K1LG         AS   NEEDED                 $0.00
            GH-M/8-8aby                        $0.00                               K1WC         AS   NEEDED                 $0.00
            GH-M/B-Mother                      $229 .16                            K1WP         AS   NEEDED                 $0.00
            GH-M/8-Mother (28)                 $246.16                             K1WP         AS   NEEDED                 $0.00
            GH-M/8-Mother (38)                 $263.16                             K1WP         AS   NEEDED                 $0.00
            GH-Maternity                       $212.16                             K1JG         AS   NEEDED                 $0.00
            Initial Clothing Allowance         Up to $250/child                    X1XX         AS   NEEDED                 $0.00
                                         St Vincent's: Guardian Angel/St.Vincent's Maternity Home - CUA/Placement TOTAL: $0.00

            St. Vincent's Group Homes: Guardian
            Angel/St. Joachim/St. Joseph for Girls, M.
            Carol - CUA/Placement            ·
            GH-ln_tensive (Non-RTF)             $212.16                               K1LG          AS NEEDED                 $0.00
            GH-Shelter (Requires                $180.44                               812G          AS NEEDED                 $0.00
            Authorization)
            lnilial Clothing Allowance          Up to $250/child                      X1XX          AS NEEDED                 $0.00
                 St. Vincent's Group Homes: Gunrdinn Angel/St. Jonchim/St, Joseph for Girls, M. Carol - CUA/Placement TOTAL: $0,00


                                                                                        DEPENDENT TOTAL: $9,021,176.23


            DELINQUENT SERVICES
            Bouvier, McCarthy, Fairless, Morrell, Drexel
            and McGlade
            GH-RTF (C/P)                       $3.00                              K23M          AS NEEDED                 $0.00
            Initial Clothing Allowance         Up to $250/child                   X2XX          AS NEEDED                 $0.00
                                                         Bouvier, McCarthy, Fairless, Morrell, Drexel and McGlade TOTAL: $0.00
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                                                                       Service        Contract
Services                            Rate                                Code           Units                    Total
Del Voe
Day Treatment (G Day)               $107.46                             G2GF         AS NEEDED                    $0.UU
                                                                                                Del Voe TOTAL: $0.00

St Francis/St. Joseph for Boys
Initial Clothing Allowance          Up to $250/child                    X2XX         AS NEEDED                    $0.00
SIL                                 $114.52                             M2GG         AS NEEDED                    $0.00
                                                                           St Francis/St. Joseph for Boys TOTAL: $0.00

St Gabriel's
Counseling                          $25/.5 Hr                           X2XX         AS   NEEDED                  $0.00
Initial Clothing Allowance          Up to $250/child                    X2XX         AS   NEEDED                  $0.00
INST-Intensive (Non-RTF)            $197.35                             L2LG         AS   NEEDED                  $0.00
INST-Intensive (Non-RTF)            $239.94                             L2LG         AS   NEEDED                  $0.00
Mitchell
INST-RTF D&A (R/B,C/P)              $84.61                              L2AR         AS NEEDED                    $0.00
INST-RTF Mitchell (R/B,C/P)         $84.61                              L23R         AS NEEDED                    $0.00
INST~RTF Module I (R/B,C/P)         $84.61                              L23R         AS NEEDED                    $0.00
                                                                                          St Gabriel's TOTAL:    $0.00

St Gabriel's • Reintegration Services
Aftercare I                         $25.58                              C2NG         AS NEEDED                    $0.00
                                                                     St Gabriel's - Reintegration Services TOTAL: $0.00

St Vincent's: Guardian Angel/St.Vincent's
Maternity Home
GH-lntensive (Non-RTF)              $212.16                            K2LG          AS NEEDED                 $0.00
GH-M/B-Baby                         $0.00                             K2WC           AS NEEDED                 $0.00
GH-M/8-Mother                       $229.16                            K2WP          AS NEEDED                 $0.00
GH-M/8-Mother (2B)                  $246.16                           K2WP           AS NEEDED                 $0.00
GH-M/8-Mother (3B)                  $263.16                           K2WP           AS NEEDED                 $0.00
GH-Maternity                        $212.16                            K2JG          AS NEEDED                 $0.00
Initial Clothing Allowance          Up to $250/child                   X2XX          AS NEEDED                 $0.00
                                              St Vincent's: Guardian Angel/St.Vincent's Maternity Home TOTAL: $0.00

St. Vincent's Group Homes: Guardian
Angel/St. Joachim/St. Joseph for Girls, M. Carol
GH-lntensive (Non-RTF)                $212.16                            K2LG          AS NEEDED                   $0.00
Initial Clothing Allowance            Up to $250/child                   X2XX          AS NEEDED                   $0.00
                      St. Vincent's Group Homes: Guardian Angel/St. Joachim/St. Joseph for Girls, M. Carol TOTAL: $0.00



                                                                          DELINQUENT TOTAL: $10,409,815.00

                                                            CONTRACT MAXIMUM LIMIT: $19,430,991.23
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                                                    CI TY OF P HiLADEL.PH !A
                                                    DEPARTMEN-~f OF
                                                ~   HUMAN SERV ICES
                  "We believe that a community-neighborhood approach with clearly defined roles between county and provider
                  staff will positively impact safety, permanency, and well-being."

             What are we working together to achieve?
                o More children and youth maintained safely in their own homes and communities.
                o More children and youth achieving timely reunification or other permanence.
                o A reduction in the use of congregate care.
                o Improved child, youth, and family functioning.




                                                    S.A.A.-2
                                                        Scope of Service:

                                  For General, Kinship, and Teen Parent/Baby
                                        Resource Home Care Providers

                                                             July 2017
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              Statement of Purpose:
              This Scope of Service is made and entered into between Catholic Social Services (the Provider) and the
              Philadelphia Department of Human Services (OHS), and sets forth the services for general, kinship, and
              teen parent/baby resource home care.

              Throughout this document, the term "Resource Parent" refers to both kinship parents and non-relative
              foster parents.

              When a child or youth is placed through a Community Umbrella Agency, CUA, the Provider offers
              ongoing support and coaching to Resource Parents through Provider Staff1 • The Provider is required
              to work collaboratively with the CUA. Contracts between DHS and all CUAs set forth services for
              resource home care with case management responsibilities remaining with the CUA. When the child
              or youth is receiving case management services directly from OHS, the Provider must also deliver case
              management !;ervices to the Resource Parent, parent or other reunification resource, and the child or
              youth and collaborate with the assigned DHS Social Worker (DHS cases).



              Department Overview:
              The mission of the Department of Human Services (OHS) is to provide and promote safety, permanency,
              and well being for children and youth at risk of abuse, neglect and delinquency. OHS is organized in the
              following Divisions: Administration and Management, Child Welfare Operations Division, Community
              Based Prevention Services, Finance, Juvenile Justice Services, and Performance Management and
              Technology. OHS continues to implement the Improving Outcomes for Children (IOC} model. The vision
              for IOC is to:
              o      Maintain children and youth safely in their own homes and community.
              o     Timely reunification or other permanency.
              o     Reduce use of congregate care.
              o     Improve children, youth, and family functioning.

              As it relates to Resource Home care, the IOC framework provides a single Case Manager to work with
              assigned families. The case management service is provided by Community Umbrella Agencies who are
              embedded in the communities they serve.

              For children and youth for whom the Provider continues to provide case management services, the case
              management staff interact on a regular basis with schools, medical, dental, and behavioral health
              providers; various community resources; and all service providers indicated on an Individual Service Plan
              (ISP) or Family Service Plan (FSP). ·For youth funded and placed by a CUA, the Provider interacts with
              external resources as needed, collaborates and communicates with the CUA, and continues to support
              the resource caregivers.



               Provider Organizational Overview:

              Mission Statement: Catholic Social Services of the Archdiocese of Philadelphia continues the work of
              Jesus by affirming, assisting and advocating for individuals, families, and communities.

              Vision and Values Statement: Catholic Social Services Vision:



              1
                  Provider Staff is responsible for recruiting and certifying foster and kinship homes.
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             Catholic Social Services exists to transform lives and bring about a just and compassionate society where
             every individual is valued, families are healthy and strong, and communities are united in their
             commitment to the good of all. We envision a world touched by God's mercy: where poverty and need
             are alleviated, and all people share justly In the blessings of creation.

             Catholic Social Services Values:

             Compassion : genuine care and heartfelt concern for those we serve
             Dignity: respect for each person created in God's image, regardless of color, capacity, or age
             Charity: generosity toward all people in response to God's goodness to us
             Justice: defense of and advocacy for the rights of the poor, vulnerable, and disadvantaged
             Excellence: professional competence and responsible stewardship oftime and resources



             Problems and Issues to be Addressed:
             Ideally, children and youth should be with their own families. When this is not possible, resource homes
             ensure that children and youth can be maintained safely in their own community. All resource home
             procedures and resources must be directed to supporting reunification or other permanency options,
             and the overall positive functioning of children, youth, and their families. Resource Parents must
             function as mentors to legal families to support these goals. An increased focus on recruiting resource
             caregivers who can manage adolescents is required in order to redu ce t he use of congregate care. There
             must also be a continued focus on the need for resource homes for children who are 0-6 years of age.
             The specific issue to be addressed by the Provider is to recruit, screen, train, and provide certified
             resource care homes for dependent children or youth, some of whom will need support to address
             behavioral health, medical, and educational needs. Homes for teens including pregnant teens and teen
             parents (teen parent/baby placements) are a priority in order to reduce the use of congregate care.


             Program Objectives:

             The program objectives are to provide trauma informed and culturally competent placement resources
             via trained resource caregivers. Resource caregivers also serve as a mentor and support to the legal
             family. Anticipated outcomes for resource home care services are:
             o      To provide children wlth protection, care, and a nurturing environment with certified Resource
                    Parents which can include extended family members while a permanent plan can be established
                    within a set time frame.
             o      To focus on identifying strengths, developing protective capacities and building resiliency and
                    adaptive coping skills.
             o      To facilitate participation in service delivery and/or treatment provided by external resources so
                    that healthy partnerships can be created and goals on the service plans can be archived.
             o      To provide opportunities to strengthen and develop youth assets.
             o      To promote social competency skills.
             o      To ensure that youth is available for assigned court related appearances.
             o      To collaborate with the CUA case manager, DHS and/or other team members in planning the
                    transition into the next level of care which will ideally be family reunification.
             o      To access medical, dental and behavioral health services as needed.
             o      To provide support, including access to resources, to achieve academic and vocational goals.

              Program Overview:

              Resource Home (Foster Care and Kinship Care): The primary goal of Resource Home Care is to support
              the safety, stability, permanency, and well-being needs of the child or youth and legal family. Resource
                                                                                                               Page 3 ofll
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               Parents provide general care and supervisior.i for children and youth placed in their home. For CUA
               cases, the Provider focus is on supporting the Resource Parent while case management is provided by
               the CUA. For cases in which DHS also provides case management, the Provider delivers case
               management services and ongoing support to the parents and reunification resource. Whether
               providing services for a DHS case or a CUA case, the safety, stability, permanency, and well-being needs
               of the child or youth and legal family support includes developing a mentoring relationship with the
               legal family specifically in ways that foster positive family relationships and reunification. Resource
               caregivers are screened, trained, and certified by the Provider. In kinship care, the caregiver may also be
               an extended family member, friend, previous Resource Parent, or other professional who in the past has
               established a relationship with the child.

                General level resource care, Including kinship: Children and youth identified for this service category
                mostly demonstrate a moderate degree of behavioral, social, emotional, intellectual, and educational
                needs or issues. Service needs are compounded by normal placement adjustment issues. Routine care
                and supervision of the children and youth is manageable with some ongoing training and support from
                the Provider. Siblings are placed together whenever possible.

                In a9dition:
                o     Youth may require access to special education, or developmental or vocational services. This will
                      be specified in either the FSP or the SCP depending on who is primarily responsible for case
                      management functions (DHS or CUA).
                o     The child's or youth's biological family requires support and to maintain their emotional bond with
                      their children and to address identified safety issues and permanency goals.
                o     Children and youth may require therapy or other therapeutic services provided by external
                      resources as specified in either the FSP or the SCP, depending on who is primarily responsible for
                      case management functions (either DHS or CUA).
                o     Children and youth require routine health care or may have minor health or medical needs for
                      which follow up care is to be provided.
                o     The Provider agency staff or Resource Parents, or both participate in teaming meetings and
                      development of SCP (CUA cases).

                Teen Parent/Baby Foster or Kinship Placement Services: Teenage parents and their child who are
                identified for this service category demonstrate difficulty in behavioral, social, emotional, or intellectual
                development. The adolescent is not prepared to assume their current parental role. The child's legal
              · family is typically not equipped to adequately address the adolescent needs.
                This service includes:
                o     General care of healthy infants or toddlers requiring routine care. The adolescent is physically
                       healthy and requires routine care.
                o      Neither the teen nor the child requires specially trained Resource Parents.
                o      Parents or reunification resource, if different, requires support and to maintain their emotional
                      bond with the teen and the teen's child and to address identified safety issues and permanency
                      goals.


                Services:

                Referrals:
                The DHS Central Referral Unit and the DHS On-going Worker, the OHS Investigating Worker (if a newly
                accepted case), or CUA Case Manager (CUA CM) must share with the Provider pertinent information as
                required by the five county standards which include: medical consent form, Medical and Immunization
                Records, Universal referral, service plan, placement history, court disposition, Court Orders, educational
                records, birth certificate, and the name of the child's or youth's attorney.

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             Case Management:                                                                                        .
             Case management will be provided either by the Provider (for OHS placements) or one of the CUA's (for
             CUA placements) . The CUA Case Manager will visit the resource home at least once per month. For OHS
             placements, the Provider Case Manager will visit the home as required pursuant to OHS performance
             standards.

             For CUA placements, the Provider offers support to the resource caregivers via a Provider Staff as
             defined earlier in this document. They may visit the resource caregiver as often as needed but at a
             minimum, once per quarter. They provide other supportive services to resource caregivers and act as a
             possible liaison to CUAs as needed.

             For DHS placements, there is a Provider Case Manager assigned to the case.

             Examples of relevant topics to be discussed with the DHS Worker or CUA Case Manager include:
             o   Child's or youth's adjustment to the home.
             o   Behavior management strategies.
             o   Child's or youth's educational, medical, and behavioral health progress.
             o    Resource Parent's ability to meet needs and assistance needed.
             o    Relationship with parents and reunification resource, and quality of visits (if applicable).

             Examples of relevant topics to be discussed with Case Manager (CUA or OHS) include:
             o   Placement stability.
             o   Relationship issues with the other children in the resource home.
             o   Child's educational, medical, and behavioral health needs and proposed interventions.
             o    Behavior management strategies utilized by the Resource Parents.
             o    Relationship between Resource Parent and parents and reunification resource, if different and
                  issues related to t he resource caregiver as a mentor.
             o   Clarification of the role of the CUA Case Manager.
             o   Youth's interaction in the community and use of community resources.
             o    Progress or lack of progression toward attainment of service plan goals.
             o    Permanency planning.
             o    Results of Like Skills Assessment and related planning to help youth develop life skills.
             o    Provision of routine medical and dental care.
             o   Supplemental seivices or needs.

             All resource caregivers and the Provider must ensure that:
             o      Three n_ourishing meals and additional snacks daily are provided and any special dietary needs or
                    religious food restrictions are accommodated. Food is never to be withheld as a means of
                    discipline.                                         ·
             o      Provide children and youth with new, age appropriate, and seasonal clothing. All clothing should
                    be purchased new with the child or youth, when appropriate, having choice in the selection.
                    Consignment shops may be used as long as all household members utilize this option. Foster
                    children and youth are to be treated no differently. All clothing purchased is the property of the
                    child or youth. Purchase of necessary clothing Is never to be withheld as a means of discipline by
                    Resource Parents_

              All resource homes must and the Provider must ensure that:
              o      The home is free of infestation, structural damage that poses an immediate threat to safety, lead
                     (unless being treated), non-functioning utilities, fire or other health or safety hazards.
              o      There must be a working land line phone within the residence.
              o      The home meets all of the requirements of an approved adoptive placement. At the same time,
                     Resource Parents must be willing to work with and mentor the reunification resource to ensure
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                              that children and youth can reunify in a timely way. If reunification is not feasible, Resource
                              Parents must be willing to consider being a permanency resource for children and youth placed in
                              their care.

                    More specifically resource homes must meet the following criteria:
                    o    All doors leading outside of the hous_e are able to be locked or otherwise secured.
                    o    There are cribs for infants and beds for each child and youth.
                    o    There are working smoke detectors, fire extinguishers, and carbon monoxide detectors. Chemicals
                         and drugs are stored properly away from children and youth.
                    o    Firearms are locked and ammunition is stored separately in a locked container.
                    o    Safe infant and toddler care, as applicable to the age of the children placed in the home including:
                         •     Safe bathing and the use of bath water thermometers.
                         •     Safe sleeping.
                         •      Car seats appropriate to the age and weight of the children if the resource family owns or
                               will transport children in a vehicle.
                         •      Child proofing of the home and environment including stair gates, radiator covers, fireplace
                                guards and other necessary safety devices including outlet covers.

                    The home must have and the Provider must ensure that there are the following resources:
                    o    Mobile Crisis number and contacting procedures.
                    o    Suicide Prevention Hotline number.
                    o    Poison Control number.
                    o    Smoke detectors and fire extinguishers.
                    o    Police Department number and contacting procedures.
                    o    Drug and Alcohol Intervention numbers and contacting procedures.
                    o    No smoking signs.

                    The Provider must complete an inspection of the above for all Resource Parents on a quarterly basis.

                    The Provider is responsible for offering training and relatedsupport to Resource Parents that includes
                    the impact that trauma has on youth behaviors and functioning, ways to motivate positive behaviors of
                    children and youth, and strategies on ways to manage child and youth behaviors and encourage positive
                    behaviors in a manner that is not vindictive, abusive, or degrading. For children and youth placed by
                    CUA's, this support is provided to resource caregivers by Provider Staff. The Provider recognizes that
                    the interaction between a caring Resource Parent and the child or youth is an opportunity to help them
                    recognize their inherent assets and strengths, and develop acceptable behaviors. Such s'upport assists
                    children and youth in developing skills that promote their successful integration into the community.

                     Provider and Resource Parents are prohibited by both PA Regulation and DHS policy from using corporal
                     punishment, threats or derogatory remarks, the depriving of meals, and the depriving of visits with
                     parents or others, verbal abuse or any punitive, unusual, or unnecessary consequences for behaviors.

                    In deciding on an effective means of intervening during conflict, Resource Parents assess and ensure the
                    following:
                    o     The child's or youth's ability to problem solve and social or emotional maturity.
                    o     There is open communication with the child or youth to understand reactions and feelings.
                    o     Set clear limits and guidelines for positive behavior and ensure they have been communicated
                          effectively.
                    o     That expectations for improved behaviors are defined or explained so that youth can develop new
                          skills and receive Incentives for pro social or positive behaviors.


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             If the Provider Staff (CUA cases) or Provider Case Manager (DH$ cases) suspect that the disciplinary
             actions occurring in the foster home violate the Pennsylvania Child Protective Services Law, it is the
             mandated obligation of the Provider Staff to immediately report this incident to the Pennsylvania Child
             Abuse Hotline and to DHS. In some cases, the police and the District Attorney's Office may also be
             involved in investigating any alleged criminal actions. The State investigates these reports and
             determines if the incident is indicated or unfounded. State Foster Family Care Regulations mandate that
             the agency remove children and youth in situations where their safety is in question. Children and youth
             may require removal from the resource home while an investigation is taking place unless an acceptable
             plan of supervision can be put in place to ensure safety. This decision is made in conjunction with the
             Southeast Regional Office investigating the report, the CUA CM, if a CUA case and either the OHS
             Worker or the OHS Investigator assigned.

             If the decision is made to allow the child or youth to remain in the home during or following an
             investigation, a written plan of supervision must be developed by the appropriate case management
             team. If the Resource Parent is placed on probation for this or any other reasons, no additional
             placements will be made in the Resource Parent's home during a probationary period or whenever the
             investigation is complete.

             All placement moves must be legally approved by the Court or by agreement of all parties except in the
             case of emergencies. It is the case management's t eam responsibility to obtain Court authorization to
             move children or youth through the City of Philadelphia Law Department.

             Visitation:
             The frequency and duration of visits both with reunification resources, concurrent plan resources, and
             siblings must be as liberal as possible from the time of placement. Whenever possible, visitation should
             be weekly but parental and sibling visitation cannot be less than twice monthly unless otherwise
             prohibited or specified by Court. The visitation plan must be discussed and agreed upon. It must be
             accommodating to the schedules of the reunification resource, children, and youth and include
             weekends or evenings or both where needed.

             For DHS placements, Provider Case Managers are responsible for visitation. For CUA placements, C\,JA's
             are responsible for visitation based on the SCP. Either Provider or CUA must ensure that children and
             youth have adequate resources and items provided by the Resource Parent to have successful visits.
             This may include a provision of transportation for the visitation, food, diapers, etc ... to meet the child's
             needs.

             Whenever children or youth are placed or re-placed, a visit must occur between the child or youth and
             the parent from whom they are removed as soon as possible and no later than two business days.

             An introductory meeting between the Resource Parent or the Provider Staff and the parents must also
             occur within five business days of the placement or replacement. Resource Parents should communicate
             with the parents or other reunification resources regularly and at least monthly about the children or
             youth outside of regularly scheduled visits. Siblings are to be placed together whenever possible. When
             siblings are not able to be placed together, visits are to occur between the siblings bi-weekly, at a
             minimum, unless otherwise directed by Court Order.

             Whenever possible visits must be:
             o   In the home of the reunification resource unless there is a Court Order, clear documentation in
                 the visitation plan, service plan or in a Structured Progress Note as to why this cannot occur. If
                 other than the home ofthe reunification resource, visits must be in a family-like and family
                 friendly visitation space that allows for normal parent-child interaction, ideally in the home of a
                 relative or Resource Parent. If such home is not available, visits should occur at a community
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                         location familiar to the child, youth, or parent (such as a recreation center, playground, or church).
                         The option of last resort is a family-friendly area of the Provider's as the case manager or
                         subcontractor for a CUA. In order to move from the best option in the hierarchy to a lower option,
                         the higher option must be ruled out and the reasons for ruling it out must be clearly documented.
                         When visits are not in the home, a progression plan for visits in the home must be considered at
                         the service plan meetings and court hearings_
                 o       Supervised only if necessary, based on clear threats to the safety of children and youth or Court
                         Order. Persons supervising visits must ensure safety, remain in line of sight and earshot, and
                         provide unobtrusive constructive feedback and coaching on parenting.
                 o       Accommodating to the schedules of the reunification resource, children, and youth.

                 Transportation: Will be coordinated between all parties. Visits between parents and children and youth
                 are critical to support and enhance the process of reaching the goals of reunification.

                 Teaming: For DHS cases, the Provider's Case Manager participates in DHS Family Service Plan (FSP)
                 meetings and develops the Individual Service Plan (ISP}. For CUA cases, Resource Parents or an agency
                 representative, such as Provider Staff as defined earlier, or both will participate in teaming as needed.
                 Information critical for decision making and planning will be shared with the CUA Case Manager prior to
                 all teaming meetings.

                 Court:
                 For CUA, Provider Staff may be called upon to testify to safety or any other matters as providers
                 currently are called upon. The Law Department will notify the CUA CM, and, if necessary, subpoena the
                 provider. For DHS cases, the Provider Case Manager appears in court and provides safety testimony as
                 well as family progress information to the Court.

                 Placement Disruption:
                 Providers and Resource Parents must give 30 days notice to OHS CRU regarding the need to remove a
                 child or youth.

                 Whenever there appears or it is reported by either the child or youth or the Resource Parent that the
                 placement is in danger of disruption or the Resource Parent gives 30 days notice, the Provider must
                 notify CRU immediately. An email must be sent to DHS_CRU@phila.gov with the subject line to read:
                 "30 Day Notice."

                 If a CUA case, the CUA CM is to be notified and a Placement Stability Conference must be requested.
                 The Provider and Resource Parent must be invited and must participate in this conference. The focus of
                 the conference is to determine whether there are additional supports that could be put into place to
                 avoid the disruption.

                 If it is a DHS case, the Provider and DHS Worker and Supervisors must conference the case together to
                 determine whether there are additional supports that could be put into place to avoid the disruption.

                 Reporting:
                 High Profile Cases:
                 In an effort to keep abreast of high profile cases, Child Welfare Operations Leadership is requiring that
                 all Directors of all agencies report to the appropriate Operations Director (DHS Front End, DHS ·
                 Permanency and Well-being Services, or DHS CUA) via telephone and emaH any high profile case that
                 come to their attention. These high profile cases must be conferenced with the assigned chain of
                 command, including the CUA Director, and then the Director determines if a CWO Management team
                 meeting is needed. This is a collaborative effort between CWO Management and Support Centers to
                 extend support and guidance to DHS Social Work Services and CUA staff in their decision-making.
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             Criteria:
             o       Death of a child or youth involved with DHS or in a DHS involved household.
             o       Any missing child 12 years of age or under and active with OHS (committed to OHS or receiving
                     in-home services).
             o       Any child or youth sexually abused while in care.
             o       Media report involving OHS cases or families.
             o       Any child or youth committed to OHS and hospitalized subsequent to injury (whether
                     accidentally or intentionally injured).
             o       The arrest of a kin, Resource Parent, or any household member of a resource home, including
                     any child or youth committed to the Department.
             o       Notification from any placement agency that a child or youth has been moved due to a report
                     of ahuse or neglect and the kin, Resource Parent, or household member is the alleged
                     perpetrator.
              o       Any other type of incident as may be subsequently designated by the Department as High Profile.

             Notification Procedure:
             o      The Provider must immediately notify the CUA Chain of Command until an in-person contact is
                    made or through the CUA after hours mechanism.
             o      The CUA staff who is informed must notify the chain of command (up to Director level).
             o      Directors must immediately notify via telephone the Operations Director who has responsibility
                    for their service and subsequently send an email notification within 24 hours to
                    • Operations Director for Front End Services;
                    • Operations Director for Permanency and Well-being Services;
                    • Operations Director for Improving Outcomes for Children; and
                    • Chief of Staff for the Deputy Commissioner.
             o      The CWO Deputy Commissioner will be contacted as needed. The cwo Deputy Commissioner
                    notifies the Commissioner and other Executive Staff members as appropriate and always if the
                    media is involved.
                    • After hours notifications must be given to the Hotline Staff and Hotline Staff must
                         immediately alert the Operations Director.

             The above does not relieve any agency required to report incidents through HCSIS.

              Information Sharing:
              Routine information that emerges during or between visits such as a change in school functioning,
              relevant communication with a family member, emerging wellnE'ss r:onr.P.rns, or new legal family
              information that potentially changes goals or objectives identified in the FSP or SCP, whichever is
              applicable, must be reported to the DHS Worker or Supervisor (OHS case), or the CUA Case Manager or
              Supervisor (CUA case), during the same business week that the information becomes known.

              Media Inquiries:
              In the event that the provider receives a media inquiry, the Provider must notify the CUA Director and
              DHS Communications Director. Staff are not permitted to comment or even acknowledge a case, but
              should direct such inquiries to the Department's Communications Director.

              Megan's Law Requirements:
              When a sexually violent predator from the Nationa I Megan's Law database lives or moves within 1000
              feet of any of a Provider's resource home, the Provider receives an electronic notification from the
              Department. Upon receipt of this notification, the Provider must do the following: .



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                           o                Make a telephone call (within 24 hours of the electronic notification) to the resource home
                                            notifying the Resource Parent that a sexually violent predator lives within 1000 feet of the
                                            home.
                           o                Visit the resource home within 48 hours and:
                                            •      Review the Megan's Law Safety Plan with the Resource Parent and any youth 14 and
                                                   older.
                                            •      Have all parties sign the Megan's Law Notification and Safety Plan.
                                            •      Provide a picture of the predator.
                           o                Mail a copy of the signed Megan's Law Notification/Safety Plan or Rece_ipt of Megan's Law
                                            Notification and Safety Plan to the OHS Ombudsman in care of the OHS Commissioner's Office:
                                                     1515 Arch Street, 8th Floor
                                                   . Philadelphia, PA 19102
                           o                Email the signed Megan's Law Notification and Safety Plan to the CUA Director of Quality
                                            Assurance for any child or youth residing in the facility.



                           Foster Parent Registry
                           Providers promptly provide information to the PA Foster Parent Registry regarding Resource Parent
                           Caregiver status and changes in status between annual certification and re-certification time frames.

                           Providers must ensure current and updated copies of each Resource Caregivers Certificate of
                           Compliance are provided to the Department and the CUA. Providers must upload Resource Home
                           certification information and documentation to the Provider Li censure module of DHSConnect
                           whenever Resource Caregivers are certified and whenever their certification status changes.

                           Mentoring:
                           The Resource Parent must play a role in facilitating reunification as described in the service plans.
                           Primarily this will be based on the Resource Parents' capabilities to serve as a mentor to the legal family
                           and assist legal family in strengthening parental capabilities, assisting with planned activities, modeling
                           and fostering positive parent-child interaction.

                           See also, the DHS Performance Standards, OHS policy, and as appropriate, the IOC Practice and Fiscal
                           Guidelines for relevant policy.

                           Hours and location of work:
                           The Provider must have 24 hours a day, 7 days a week accessibility. For CUA cases, resource homes are
                           located ideally ln the CUA region.

                           Emergency contact procedures are as follows:
                           Departmental supervisory staff will provide emergency coverage on a rotational basis to ensure access
                           to agency assistance and services outside of regular business hours for referrals from the Philadelphia
                           Department of Human Services and Community Umbrella Agencies for the placement of children in
                           appropriate foster homes and to respond to emergencies involving the children and famllies served by
                           the program. The on call supervisor can be reached at 215-808-8656.

                           The administrative office for the Provider is located at:
                           Catholic Human Services
                           222 N. 17th Street
                           3rd floor
                           Philadelphia, PA 19103



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             Referrals are typically accepted during normal work hours although emergency placements are
             considered on a case by case basis.

             Staffing Structure:
             Attach Agency Organizational Chart and Program Organizational Chart.

             Technology requirements:
             Internet access to utilize DHSConnect.




             The program Is overseen by:
             Robert Montoro, MSW, Administrator




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                                                THE CITY OF PHILADELPHIA

                                    PROFESSIONAL SERVICES CONTRACT

                                                         GENERAL PROVISIONS

                                                                              FOR

                    DEPARTMENT OF HUMAN SERVICES CONTRACTS




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                                                                                                                 The Gity of Philadelphia
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                                                                                                                          The City of Philadelphia
                                                                                                                          Professional Services Contract
                                                                                                                          Department of Human Services·
                                                                                                                          General Provisions


                                                                                                    GENERAL PROVISIONS

                        ARTICLE I: DEFINITIONS

                                         1.1                 ADA. "ADA" shall have the meaning set forth in Section 15.5 (Americans with
                                                             Disabilities Act) below.                   ·
                                         1.2                 Additional Services and Materials. "Additional Services and Materials" shall
                                                             have the meaning set forth in Section 3.3 (Additional Services and Materials;
                                                             Change in Scope of Services) below.
                                         1.3                 Additional Term, Additional Terms. "Additional Term" and "Additional
                                                             Terms" shall have the meanings set forth in Section 2.2 (Additional Terms)
                                                             below.
                                         1.4                 Agency. "Agency" shall have the meaning set forth in Section 7.8 (Audits
                                                             Pursuant to Section 6-400 of the Home Rule Charter) below.
                                         1.5                 Aggregate Actual Cost. "Aggregate Actual Cost" means the sum of all Total
                                                             Actual Costs incurred by Provider in provision of the Services.
                                         1.6                 Appropriated Fiscal Year. "Appropriated Fiscal Year" shall have the meaning
                                                             set forth in Section 6.4 (Crossing Fiscal Years) below.
                                         1.7                 Amendment. "Amendment" means (a) a written modification or change to any
                                                             Contract Document signed by both Parties, and (b) a Modification Notice (see
                                                             Section 6.9 Maximum Daily Rate, Days of Care or Units of Service (or
                                                             combination thereof) below).
                                         1.8                 Applicable Law. "Applicable Law" mea:ns all applicable present and future
                                                             federal, state or local laws, ordinances, executive orders, rules, regulations and all
                                                             court orders, injunctions, decrees and other official interpretations thereof of any
                                                             federal, state or local court, administrative agency or governmental body,
                                                             including the City, the Commonwealth and the United States of America.
                                                             Applicable Law includes, without limitation, the Philadelphia Home Rule Charter,
                                                             the Philadelphia Code, the Pennsylvania Code, and the specific laws set forth in
                                                             Article XV (Additional Covenants of Provider Relating to Certain Applicable
                                                             Laws) below, each as amended from time to time.
                                         1.9                 Applicant. "Applicant" has the meaning as set forth in Subsection 17-1401(1) of
                                                             The Philadelphia Code, as it may be amended from time to time. As of June 2012,
                                                             that definition was "[a] Person who has filed an application to be awarded a Non-·
                                                             Competitively Bid Contract."
                                         1.10                CBES. "CBES" means Community Based Emergency Shelter, an emergency
                                                             placement facility for delinquent or alleged delinquent youth.
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                      1.11     Certification of Restrictions on Lobbying. "Certification of Restrictions on
                               Lobbying," if required in the Provider Agreement, means a certificate in the form
                               attached to the Provider Agreement.
                      1.12     City. The "City" means The City of Philadelphia, a corporation and body politic
                               existing under the laws of the Commonwealth of Pennsylvania, and includes its
                               various executive and administrative departments, agencies, boards and
                               commissions, including the Department, and its legislature, City Council (defined
                               below). The City is a City of the First Class under the laws of the Commonwealth
                               of Pennsylvania.
                      1.13     City Agency. "City Agency" has the meaning as set forth in Subsection 17-
                               1401(5) of The Philadelphia Code, as it may be amended from time to time. As of
                               June 2012, that definition was "[a]ny office, department, board, commission or
                               other agency of the City of Philadelphia."
                      1.14     City Council. "City Council" means the Council of The City of Philadelphia, as
                               described in Article II of the Philadelphia Home Rule Charter, as it may be
                               amended from time to time. City Council is the legislature of the City.
                       I. 15   City-Related Agency. "City-Related Agency" has the meaning set forth in
                               Subsection 17-1401 (9) of The Philadelphia Code, as it may be amended from
                               time to time. As of June 2012, that definition was "[a]ll authorities and quasi -
                               public corporations which either: receive appropriations from the City, have
                               entered into continuing contractual or cooperative relationships with the City, or
                               operate under legal authority granted to them by City ordinance."
                       1.16    Code. The "Code" unless otherwise specified shall mean the Philadelphia Code,
                               as it may be amended from time to time.
                       1.17    Commissioner. "Commissioner" means the Commissioner of the Department of
                               Human Services of the City.
                       1.18    Commonwealth. "Commonwealth" means the Commonwealth of Pennsylvania.
                       1.19    Community Behavioral Health. "Community Behavioral Health" or "CBH"
                               means Community Behaviorial Health, a Pennsylvania nonprofit corporation
                               incorporated for the purpose of helping to ensure that Philadelphians with mental
                               health and substance abuse needs receive the most appropriate and effective
                               treatment in the least restrictive and most cost effective setting.
                       1.20    Consultant. "Consultant" has the meaning as set forth in Subsection 17-1401 (6)
                               of The Philadelphia Code, as it may be amended from time to time. As of June
                               2012, that definition was "[a]ny Person used by Provider to assist in obtaining a
                               Non-Competitively Bid Contract through direct or indirect communication by
                               such Person with any City Agency or any City officer or employee, if the
                               communication is undertaken by such Person in exchange for, or with the
                               understanding of receiving, payment from Provider or any other Person; provided,
                               however, that "Consultant" shall not include a full-time employee of Provider."



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        1.21     Contract. The "Contract" means the agreement of the Parties evidenced by the
                 Contract Documents. References to this "Contract" shall mean this Contract as
                 the same may be in effect at the time such reference becomes operative.
         1.22    Contract Cost Principles. The "Contract Cost Principles" means the "City of
                 Philadelphia Contract Cost Principles and Guidelines," as it may be amended
                 from time to time, which specifies the Department's guidelines for the qualitative
                 and quantitative evaluation of contract services and materials, the determination
                 of allowable costs, and the standards to determine the allowability of individual
                 cost items. (Copies are available from the Department upon request.)
         1.23    Contract Documents.       The "Contract Documents" means . these General
                 Provisions, the Provider Agreement, the Limited License Agreement for the
                 Cross Agency Response for Effective Services (CARES) (where applicable) and
                 any and all other documents or exhibits incorporated by reference in either the
                 General Provisions or the Provider Agreement, and any and all Amendments to
                 any of these documents.
        1.24     Contributions. "Contributions" shall have the meaning set forth in the
                 Pennsylvania Election Code, 25 P.S. Section 3241.
        1.25     Community Umbrella Agency. "Community Umbrella Agency" or "CUA"
                 means an agency located in a defined geographic area that provides a continuum
                 of services to children and youth at risk of abuse, neglect, or delinquency, as
                 further described in the Scope of Services.
        1.26     CRU. "CRU" means Central Referral Unit.
         1.27    CWO. "CWO" means Child Welfare Operations of the Department. CWO was
                 formerly known as the Children and Youth Division ("CYD").
         1.28    CYD Policy Manual. "CYD Policy Manual" (formerly the Operations Manual )
                 means the document and its revisions which contains all the policies of the
                 Department's Child Welfare Operations.                     ·
         1.29    Department. The "Department" or "DHS" means the Department of Human
                 Services of the City.
         1.30    Departmental and Administrative Policy Directives. "Departmental and
                 Administrative Policy Directives" means those policy or procedural directives
                 regarding programs and operations of the various divisions of the Department that
                 are issued to Providers by the Commissioner or the Commissioner's designee
                 which may include, but is not limited to, Deputy Commisioners, Policy and
                 Planning, and Provider Relations and Evaluations of Programs (PREP) ..
         1.31    Discharge Plan. "Discharge Plan" means the document submitted by Provider to
                 the Department upon discharge of a child from Provider's agency. The Discharge
                 Plan outlines the Services Provider has provided to the child and the child's
                 family, the effectiveness of those Services, and any additional services
                 recommended by Provider.


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                       1.32    Discharge Summary. "Discharge Summary" means a description of the Services
                               provided to a child and the child's family by Provider, and a statement of the
                               reasons for the child's discharge.
                       1.33    EPSDT.      "EPSDT" means Early and Periodic Screening, Diagnosis and
                               Treatment, a Pennsylvania Medical Assistance program initiative providing
                               medical services to children aged 0-21 years.
                       1.34    Event of Default. "Event of Default" means those events defined and identified
                               in Section 12.1 (Events of Default) of these General Provisions.
                       1.35    Event of Insolvency. "Event of Insolvency" means (a) lhe filing of a voluntary
                               petition by Provider under the Federal Bankruptcy Code or any similar state or
                               federal law; or (b) the filing of an involuntary petition against Provider under the
                               Federal Bankruptcy Code or any similar state or federal law which remains
                               undismissed for a period of forty-five (45) days; or (c) Provider's making of an
                               assignment for the benefit of creditors; or (d) the appointment of a receiver for
                               Provider or for the property or assets of Provider, if such appointment is not
                               vacated within forty-five (45) days thereafter; or (e) any other proceeding under
                               any bankruptcy or insolvency law or liquidation law, voluntary or otherwise; or
                               (t) Provider's inability to pay its obligations as they mature; or (g) Provider's
                               insolvency as otherwise defined under any Applicable Law.
                       1.36     Exhau tion of Capacity. "Exhaustion of capacity" means the utilization of all of
                                the Service capacity (whether beds in the case of out-of-home placement, or units
                                or slots of Service in the case of non-placement), of Provider.
                       1.37     Family Court. "Family Court" means that judicial division of the Court of
                                Common Pleas for Philadelphia County with original jurisdiction over all matters
                                pertaining to dependent and delinquent children.
                       1.38     Financial Assistance. "Financial Assistance" has the meaning set forth in
                                Section 17-1401(16) of The Philadelphia Code, as it may be amended from time
                                to time. As of June 2012, that definition was "[a]ny grant, loan, tax incentive,
                                bond financing subsidy for land purchase or otherwise, or other form of assistance
                                that is realized by or provided to a Person in the amount of fifty thousand dollars
                                ($50,000) or more through the authority or approval of the City, including, but not
                                limited to, Tax Increment Financing (TIF) aid, industrial development bonds, use
                                of the power of eminent domain, Community Development Block Grant (CDBG)
                                aid or loans, airport revenue bonds, and Enterprise Zone or similar economic
                                development zone designations (such as Keystone Opportunity Zones, Keystone
                                Opportunity Expansion Zones, Keystone Opportunity Improvement Zones, and
                                Economic Development District Zones), but not including any assistance to which
                                a Person is entitled under a law enacted before the Person applied for or requested
                                such assistance."
                       1.39     Fiscal Year. "Fiscal Year" means the fiscal year of the City, which cominences
                                on July 1 of each calendar year and expires on June 30 of the next succeeding
                                calendar year.


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                         I .40    Form Authorizations. "Form Authorizations" means the "CRU Fax Cover
                                  Transmittal Sheet for Referral and Service Authorization" and "DHS After-Hours
                                  Fax Cover Transmittal Sheet for Referral and Service Authorization." The
                                  authorization forms will provide the Provider with the required documtentation of
                                  proof or authorization to provide services to a child prior to accepting the child for
                                  service. Once the Fax Sheet has been received, Provider cannot make further
                                  requests for this form or for a Form 85-29 printout.
                         1.41     FSP. "FSP" means Family Service Plan, the document prepared by the
                                  Department which outlines those Services required for the family of the child or
                                  children committed to, or under the supervision of, the Department.
                         1.42     Functional Expenditure Report. "Functional Expenditure Report" means a
                                  report required by Subrecipient Audit Guide.
                         1.43     General Provisions. "General Provisions" means these "The City of
                                  Philadelphia Professional Services Contract General Provisions for Department of
                                  Human Service Contracts," which contains the standard provisions required by
                                  the City in its professional services contracts for the Department of Human
                                  Services, and any exhibits identified in these General Provisions.
                         1.44     HealthChoices. "HealthChoices" means the program operating under a waiver
                                  from the Centers for Medicare and Medicaid Services (formerly Health Care
                                  Financing Administration) pursuant to Section 1915(b) of the Social Security Act,
                                  42 U.S.C. 1396(n), to provide mandatory managed health care to Medical
                                  Assistance recipients in Bucks, Chester, Delaware, Montgomery and Philadelphia
                                  Counties.
                         1.45     Improving Outcomes for Children. "Improving Outcomes for Children" or
                                  "IOC" means the City's multi-year reform plan to create a single case
                                  management system with distinct and well-defined roles for both DHS and
                                  Provider agencies.
                         1.46     Independent Audit Report. "Independent Audit Report" means a report
                                  prepared by a Certified Public Accountant who, pursuant to AICP A Professional
                                  Standards, is not (a) a member of the board of Provider, (b) an officer or
                                  employee of Provider, or (c) a partner, director, officer or employee of a
                                  partnership, corporation or association who is a member of the board of Provider,
                                  or a director, officer or employee of Provider.
                         1.47     Initial Term. "Initial Term" shall have the meaning set forth in Section 2.1
                                  (Initial Term) below.
                         1.48     Intent to Adopt. "Intent to Adopt" means that report which is required by the
                                  Adoption Act (23 Pa. C.S. § 2531 ), to be filed with the Court of Common Pleas
                                  by the person or persons intending to adopt a child, confirming said person or
                                  persons' intent to adopt.
                         1.49     Interpretation; Number, Gender.             The words "herein" "hereof'' and
                                  "hereunder" and other words of similar import refer to this Contract as a whole,
                                  including the all of the Contract Documents, and not to any particular article,
                                  section, subsection or clause contained in the Contract Documents. Whenever the
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                              context requires, words used in the singular shall be construed to include the
                              plural and vice versa, and pronouns of any gender shall be deemed to include the
                              masculine, feminine and neutral genders.
                      1.50    ISP.   "ISP" means the Individual Service Plan, that document prepared by
                              Provider in accordance with the FSP, which identifies the specific Services
                              Provider will render to the child and the child's family.
                      1.51    JPO. "JPO" means the Juvenile Probation Officer.
                      1.52    Materials.     "Materials" means any and all reports, records, documents,
                              documentation, information, supplies, plans, original drawings, specifications,
                              computations, sketches, renderings, arrangements, videos, pamphlets,
                              advertisements, statistics, and other data, computer tapes, computer software, and
                              other tangible work product or materials prepared or developed by Provider in
                              connection with the Services, or for Provider by a Subcontractor in connection
                              with the Services, and supplied to the City by Provider or its Subcontractor
                              pursuant to this Contract.
                      1.53    Medical Assistance. "Medical Assistance" or "MA" means that program
                              authorized under Article IV(t) of the Public Welfare Code, which is administered
                              in accordance with Title XIX of the Social Security Act (42 U .S.C. §1396), and
                              the regulations from time to time promulgated thereumfor, tu provide for specific
                              medically necessary medical services and items furnished to eligible recipients by
                              approved providers enrolled in the program.
                      1.54    Mental Health Procedures Act. "Mental Health Procedures Act" means the
                              law, codified at 50 P.S. §§7101 -7503, as it may be amended from time to time,
                              which governs the procedures for voluntary and involuntary mental health
                              treatment in the Commonwealth of Pennsylvania.
                      1.55    Modification Notice. "Modification Notice" means written notice from the City
                              to Provider that informs Provider of the City's intent to modify the maximum
                              daily rate, number of days of care or units of Services under this Contract. The
                              Modification Notice operates as an amendment to this Contract.
                      1.56    Non-Competitively Bid Contract. "Non-Competitively Bid Contract" has the
                              meaning set forth in Section 17-1401 (1 2) of The Philadelphia Code, as it may be
                              amended from time to time. As of June 2012, that definition was "[a] contract for
                              the purchase of goods or services to which the City or a City Agency is a party
                              that is not subject to the lowest responsible bidder requirements of Section 8-200
                              of the Charter, including, but not limited to, a Professional Services Contract, and
                              any renewal of such a contract (other than a renewal term pursuant to an option to
                              renew contained in an executed contract)."
                      1.57    Out-of-Home Placement. "Out-of-Home Placement" means those Services that
                              involve placement of a child outside of the child's home, including, without
                              limitation, placement in a foster care home, a group home, a residential treatment
                              facility, or any similar placement setting.
                      1.58    PA DHS. "PA DHS" means the Commonwealth Department of Human Services.

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